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UNITED sTATES DISTRICT CoURT
FoR THE WESTERN DISTRICT OF TENNESSEE 95 Itf:;`z’ l 7 !EH !0= 3 3
WESTERN DIVISION
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UNITES STATES OF AMERICA,

Plaintiff,

V. Cr. No. 04-20137 B
GILBERT CROCKETT,

Defendant.

 

ORDER GRANTING MOTION
TO HOLD IN ABEYANCE PREVIOUSLY FILED
MOTION TO RENEW MOTION TO SUPPRESS

 

For good cause shown and Without objection from the government, the Court hereby
GRANTS defendant’s Motion to Hold in Abeyance Previously Filed Motion to Renew Motion to

Suppress, and hereby sets this matter for report during the month of June. This matter is hereby set
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N RABLE J. DANIEL BREEN
NIT D STATES DISTRICT CoURT JUDGE

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This notice confirms a copy of the document docketed as number 57 in
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Honorable J. Breen
US DISTRICT COURT

